Case 2:23-cv-11634-NGE-APP ECF No. 14-9, PageID.100 Filed 08/01/23 Page 1 of 2




                   EXHIBIT H
         Case 2:23-cv-11634-NGE-APP ECF No. 14-9, PageID.101 Filed 08/01/23 Page 2 of 2




From:                       Clinton Mikel
Sent:                       Monday, July 31, 2023 2:57 PM
To:                         Deborah Gordon; Elizabeth Marzotto Taylor; Monique Selby; Adrienne Dresevic; Jonathan Messina
Cc:                         Molly Savage; Sarah Gordon Thomas
Subject:                    RE: Pensler et al /Request for extension


Hi, Deb,

Thank you for the call.

Recapping the meet and confer portion:

           Your office has 3 or possibly 4 trials coming up. You were concerned that if you gave us the requested
           extension, that it would conflict with those trials date-wise. Essentially, we both have extremely tight schedules
           at the moment – personally and professionally.

           I offered to accommodate your trials with corollary or greater extensions (as noted in the email chain below).
           You said that this would push all of this case too far back with briefings before anything ever got started, and
           that would prejudice your client.

           I asked if you would consider the 30-day extension as a compromise. You said no. You said that you might
           consider a 2-week extension, but that you couldn’t commit to that at the moment. You would have to do the
           math on the dates to see if you could give that much of an extension without prejudicing your client/conflicting
           with your trial schedules. I didn’t see a point in you doing the math/dates, since 14-days would not work with
           what we need for an extension.

           I indicated that we would be forced to file a motion, and you indicated that was fine and you would oppose.

I attempted to make this an accurate/neutral recap. If you disagree with anything please let us know.

Thanks, Clinton

                                       Clinton Mikel
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